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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Emoji Company GmbH
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:22−cv−06862
                                                                        Honorable Steven
                                                                        C. Seeger
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
                                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 14, 2023:


      MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's motion for a
temporary restraining order (Dckt. No. [10]) is hereby granted in part as follows.
Temporary Restraining Order to follow. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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